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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                               Eastern Division

Bank of America, N.A.
                                 Plaintiff,
v.                                                  Case No.: 1:15−cv−06739
                                                    Honorable John Robert Blakey
Josef Bozek
                                 Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, June 11, 2018:


        MINUTE entry before the Honorable John Robert Blakey: The Court previously
dismissed this case because the face of the complaint showed that the requirements for
removal were not satisfied. This Court never took jurisdiction of the matter, and therefore
did not include in the dismissal order language remanding the case back to the Circuit
Court. See [7]. Plaintiff now requests such language in order to pursue the matter in state
court. Accordingly, this case is remanded to the Circuit Court of Cook County. All
pending motions remain terminated and the 6/13/18 notice of motion date is stricken. This
case remains closed. Mailed notice(gel, )




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Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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